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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------X
BURBRAN PIERRE, on behalf of himself
and others similarly situated,


                                            Plaintiff,                1:20-cv-05116 (ALC) (VF)

                          -against-                                            ORDER

CITY OF NEW YORK, NEW YORK CITY
POLICE DEPARTMENT, TD BANK N.A.,
DUANE READE INC., B&H PHOTO VIDEO
PRO AUDIO LLC, BLOOMBERG L.P.,
WHOLE FOODS MARKET GROUP, INC.,
TRIHOP 14TH STREET LLC, and
DOES NOS. 1-10,

                                             Defendants.
-----------------------------------------------------------------X
VALERIE FIGUEREDO, United States Magistrate Judge:

        On March 7, 2024, the Court granted Plaintiff’s motion for leave to file a first

amended complaint. ECF No. 434. Any objections by any party to that order had to be made

to the District Judge within 14 days of the date of the order—that is, by March 21, 2024.

Neither party filed any objections to the order. To date, Plaintiff has not filed an amended

complaint. Plaintiff has until July 8, 2024 to file the proposed first amended complaint for

which Plaintiff sought leave.

        It has come to the Court’s attention that Plaintiff may want to make changes to the

proposed first amended complaint it previously submitted to the Court as part of its motion

for leave to amend. If Plaintiff does not have Defendant Bloomberg L.P.’s consent, Plaintiff

must file a new motion for leave to amend, attaching the new proposed amended complaint

to its motion papers. Any such motion should be filed by July 12, 2024.
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    SO ORDERED.

DATED:    New York, New York
          July 2, 2024

                                        ______________________________
                                        VALERIE FIGUEREDO
                                        United States Magistrate Judge




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